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 13
                                 IN UNITED STATES DISTRICT COURT
 14
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15
                                                      Case No.: 8:17-CV-00667-JLS(DFM)
 16   KELI PARKER,

 17                 Plaintiff,                        SATISFACTION OF JUDGMENT

 18   v.

 19   PETERS & FREEDMAN, LLP, et al.,
 20
                     Defendants.
 21

 22          Plaintiff Keli Parker, by and through undersigned counsel, hereby acknowledges

 23   and enters Satisfaction of Judgment. A Judgment [Dkt. No. 130] was entered in the above

 24   entitled action on April 5, 2019, in the United States District Court, Central District of

 25   California, in favor of Plaintiff and against Defendant Peters & Freedman, LLP. Said

 26   Judgment has been paid and there are no outstanding writs of execution.

 27          Respectfully submitted this 11th day of July 2019.

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  1                                              PRICE LAW GROUP, APC
  2                                              By: /s/ David A. Chami
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 13
                                   CERTIFICATE OF SERVICE
 14

 15          I hereby certify that on July 11, 2019, I electronically filed the foregoing with the

 16   Clerk of the Court using the ECF system, which will send notice of such filing to all

 17   attorneys of record in this matter. Since none of the attorneys of record are non-ECF

 18   participants, hard copies of the foregoing have not been provided via personal delivery or

 19   by postal mail.

 20                                              PRICE LAW GROUP, APC

 21                                              /s/ Florence Lirato

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